UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------- x
                                         :
UNITED STATES OF AMERICA,
                                         :                       Index No. 19-cr-00374 (DAB)
                                         :
                     Plaintiff,
                                         :                       MOTION FOR ADMISSION
                                         :                       PRO HAC VICE
                v.
                                         :
                                         :
MICHAEL AVENATTI,
                                         :
                     Defendant.          :
                                         :
---------------------------------------- X

       Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, Thomas Warren hereby move this Court for an Order for

admission to practice Pro Hac Vice to appear as counsel for Defendant Michael Avenatti in the

above-captioned action.

       I am in good standing of the bars of the state of California and Ohio and there are no

pending disciplinary proceedings against me in any state or federal court. I have never been

convicted of a felony. I have never been censured, suspended, disbarred or denied admission or

readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.

Dated: November 21, 2019
                                             /s/ Thomas Warren          .
                                             Thomas Warren
                                             Pierce Bainbridge Beck Price & Hecht LLP
                                             355 S. Grand Avenue, 44th Floor
                                             Los Angeles, CA 90071
                                             tel: (213) 262-9333
                                             fax: (213) 279-2008
                                             twarren@piercebainbridge.com
